Case 7:19-cr-00081-EKD Document 72 Filed 09/08/20 Page 1 of 4 Pageid#: 165




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION


 UNITED STATES OF AMERICA,                                 )
                                                           )
 V.                                                        ) Cr. No. 7:19-CR-00081-02
                                                           )
 ANTHONY BRIAN BARNETT.                                    )
     Defendant.                                            )

                              MOTION TO CONTINUE JURY TRIAL

         This case is set for trial on October 5-7, 2020. However, the Defendant respectfully requests

 a continuance of this matter for the following reasons.

         (1) Mr. Barnett is incarcerated in the Roanoke City Jail. Within the past few weeks several

 inmates and staff at that facility have tested positive for COVID-19. Moreover, the COVID-19 virus

 has continued to threaten the health and safety of the public at large. Thus, having a jury trial within

 the next thirty days would pose a health risk to everyone involved.

         (2) Moreover, a continuance is necessary because currently Counsel’s ability to meet with

 Mr. Barnett in order to prepare for trial is curtailed. There is obvious risk in any visitation at the
 Roanoke City Jail during its COVID-19 outbreak. Even before the outbreak, contact visitation was

 prohibited, making review of evidence with the Defendant nearly impossible. These circumstances

 could have an impact on Mr. Barnett’s Sixth Amendment right to counsel if he were forced to go to

 go to trial during this pandemic.

         (3) Additionally, a jury trial during the pandemic would prejudice Mr. Barnett’s right to

 confront the witnesses against him. The Constitution guarantees the Defendant the right to

                                     1
Case 7:19-cr-00081-EKD Document 72 Filed 09/08/20 Page 2 of 4 Pageid#: 166




 confront witnesses against him. An essential component of that right is “the opportunity, not

 only of testing the recollection and sifting the conscience of the witness, but of compelling him

 to stand face to face with the jury in order that they may look at him, and judge by his demeanor

 upon the stand and the manner in which he gives his testimony whether he is worthy of belief.”

 See Mattox v. United States, 156 U.S. 237, 242 (1896); accord Maryland v. Craig, 497 U.S. 836,

 845 (1990); Coy v. Iowa, 487 U.S. 1012 (1988). Compelling witnesses to testify in a face

 covering would obviously impair the jury’s capacity to judge the witnesses’ facial expressions

 and demeanor when “standing face to face” and “looking at” the witnesses

         (4) The Speedy Trial Act permits a continuance of this trial. The Act generally requires

 that a criminal trial begin within seventy days of the filing of an information or indictment or the

 defendant’s initial appearance. 18 U.S.C. Section 3161(c)(1). This requirement protects the

 interests of the defendant and the public in a speedy trial. Zedner v. United States, 126 S.Ct. 1976

 (2006); United States v. Henry, 538 F.3rd 300, 303 (4th Cir. 2008). “To allow for necessary

 flexibility in scheduling, the Act provides that certain delays may be excluded from the seventy-day

 count, including delays where the district court finds ‘that the ends of justice served by granting of

 … [a] continuance outweigh the best interests of the public and the defendant in a speedy trial.”

 Henry, 538 F.3rd at 303; 18 U.S.C. § 3161(h)(7)(A). Significantly, the Act’s “primary procedural

 limit requires the district court to ‘set [] forth, either orally or in writing, its reasons for finding’ that

 a continuance is warranted under the provision.” Henry, 538 F.3d at 303.

         (5) Section 3161(h)(7)(B) of the Act provides factors to be considered by the Court in

 determining whether to grant a continuance. These factors include whether the failure to grant a


                                      2
Case 7:19-cr-00081-EKD Document 72 Filed 09/08/20 Page 3 of 4 Pageid#: 167




 continuance would deny the Defendant continuity of counsel or the reasonable time necessary for

 effective preparation, taking into account due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). These

 factors must be weighed by the Court in deciding whether the ends of justice served by the granting

 of a continuance outweigh the best interests of the defendant and the public in a speedy trial. 18

 U.S.C. § 3161(h)(7)(A) Zedner v. United States, 126 S.Ct. 1976 (2006).

        (6) Defendant submits that for the reasons outlined in paragraphs one through three,

 including but not limited to the Constitutional implications of a jury trial during the pandemic, the

 ends of justice served by the granting of a continuance outweigh the best interests of the public and

 the Defendant in a speedy trial.

        (7) Defendant waives speedy trial.

        Accordingly, the Defendant respectfully moves the Court to continue his jury trial. The

 parties will confer with the Court to determine a mutually convenient new trial date.

                                                        Respectfully Submitted,
                                                        Anthony Brian Barnett

                                                        By: S/Anthony F. Anderson
                                                          Counsel

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                                    3
Case 7:19-cr-00081-EKD Document 72 Filed 09/08/20 Page 4 of 4 Pageid#: 168




                                    CERTIFICATE OF SERVICE

         I hereby certify that this 8th day of September 2020, I electronically filed the foregoing with
 the Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 all counsel of record.

                                                        s/ Anthony F. Anderson
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                                    4
